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       April 28, 2025                                          MEMO ENDORSED
       Via ECF
       Honorable Katherine Polk Failla, U.S.D.J.
       Southern District of New York
       40 Foley Square
       New York, NY 10007

       Re:     Foley v. IRBsearch, LLC, SDNY Case No. 24-CV-1303 (KPF)

       Dear Judge Failla:

       My office, together with co-counsel, represents the plaintiff, Kathleen Foley, in the
       above-referenced case.

       I am writing on behalf of all parties who have appeared to request that Your Honor
       reschedule the April 29th deadline for the holding of the Rule 26(f) Conference and
       the submission of a proposed case management plan until 21 days after the third-
       party defendant, On Point Investigations LLC, has appeared. I am making this
       request, because on April 25, 2025, the defendant, IRBSearch, LLC, filed a Third-
       Party Complaint, which has not yet been served. Without the third-party defendant
       having been joined in this action, it would be difficult to hold a meaningful Rule
       26(f) Conference or to work out a discovery schedule.

       The Parties further request that due to the complexity of this class and third-party
       practice case, a Rule 16(b) Conference would be beneficial. We request that the
       Court schedule such a conference as soon as its schedule allows following the
       submission of the Parties’ Rule 26(f) report.

       Respectfully,

       /s/ Brian L. Bromberg
       Brian L. Bromberg

       cc:     All Attorneys of Record (Via ECF)
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Application GRANTED. The April 29, 2025 deadline to submit a
revised case management plan is adjourned sine die.

The parties are directed to file a status update within one week
from when third party defendant, On Point Investigations LLC,
appears, or on May 29, 2025, whichever comes first, so that the
Court can reset the deadline for the revised case management plan
and set a conference.

The Clerk of Court is directed to terminate the pending motion at
docket entry 31.

Dated:       April 29, 2025               SO ORDERED.
             New York, New York



                                          HON. KATHERINE POLK FAILLA
                                          UNITED STATES DISTRICT JUDGE
